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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                No. 4:12CR00041-04 JLH

TRAVIS BLAINE PERKINS

                                          ORDER

       The motion of the United States of America to dismiss the indictment as to Travis Blaine

Perkins is GRANTED. Document #196. The pending charges against Perkins are hereby dismissed.

       IT IS SO ORDERED this 23rd day of April, 2013.




                                                  J. LEON HOLMES
                                                  UNITED STATES DISTRICT JUDGE
